Case 2:23-cv-06529-NJC-ARL Document 40 Filed 12/01/23 Page 1 of 2 PageID #: 308


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 via ECF                                                        December 1, 2023

 Hon. Judge Arlene R. Lindsay
 United States District Court
 Eastern District of New York
 100 Federal Plaza
 Central Islip, NY 11722                                        Re: Bullion Shark, LLC v. Flip a Coin
                                                                Bullion LLC, et. al.
                                                                (EDNY 23-CV-6529)
 Dear Judge Lindsay:

         I represent the Defendants in the above-referenced action. Per the Order issued earlier today,
 a Settlement Conference has been scheduled for December 12, 2023. This is to request re-scheduling
 of same due to a personal conflict I have. This is the first request for re-scheduling of the Settlement
 Conference by any party.

         In the interest of expediency, my clients and I are currently available for a Settlement
 Conference on December 11, 2023 (one day earlier than the currently-scheduled date), as well as on
 the following dates:

        December 15
        December 18
        December 21

         I have consulted with opposing counsel, and Plaintiff’s attorney has consented to this request
 provided that the Settlement Conference can be scheduled for December 11, 2023, the preferred date
 for all involved. As of the time of this writing, I have yet to receive Plaintiff’s consent to re-
 scheduling to one of the above-listed alternate dates, and am currently awaiting their reply.

         In addition, this is to respectfully request Your Honor’s permission for my clients to appear
 for the Settlement Conference via Zoom, with myself as counsel appearing in person. I have
 consulted with opposing counsel regarding this, and Plaintiff objects to this request. However,
 having my clients incur the costs of travel from Florida to New York in the short term will likely
 frustrate settlement efforts and prove to be counter-productive.
Case 2:23-cv-06529-NJC-ARL Document 40 Filed 12/01/23 Page 2 of 2 PageID #: 309


 Hon. Judge Arlene R. Lindsay
 December 1, 2023
 Page 2 of 2


        Should the Court require any further information, please contact the undersigned.

                                                            Respectfully submitted,

                                                            /s/ Todd Wengrovsky

                                                            Todd Wengrovsky
                                                            Counsel for Defendants

 cc: Emanuel Kataev, Esq.,
 Counsel for Plaintiff, via ECF
